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 2   Ca. St. Bar No. 220874
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 3   Sacramento, CA 95814
     Telephone: (916) 444-3994
 4
     Attorney for Defendant
 5   RICARDO VENEGAS

 6

 7                    IN THE UNITED STATES DISTRICT COURT

 8                   FOR THE EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,     )          CR NO. S-06-0441 GEB
                                   )
11             Plaintiff,          )          STIPULATION AND ORDER
                                   )          TO EXTEND TIME TO
12        v.                       )          POST PROPERTY BOND
                                   )
13   Ricardo Venegas,              )
                                   )          Judge:   Hon. Edmund F. Brennan
14             Defendant.          )
     ______________________________)
15

16        On June 4, 2008, this Court ordered Mr. Ricardo released on

17   an $100,000.00 property bond, said property bond to be posted no

18   later than the close of business on July 2, 2008 (The Bond was

19   originally due on June 18, 2008.        The Court previously extended

20   the due date to July 2, 2008.)

21         Most of the required paperwork has been received.          It

22   appears the only remaining item is for the Deed to be Notarized

23   and Recorded.    In addition, our office has just finished moving

24   and I have been unable to assist the Venegas family as much as I

25   would like during the moving process. Accordingly, the parties

26   agree that the matter should be extended two additional weeks

27   from July 2, 2008 to July 16, 2008.       This office has contacted

28   Jill Thomas of the U.S. Attorney’s Office, and the Pretrial
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 1   Services Officer Becky Fiddleman and they have no objection to

 2   this request.

 3   Dated: July 3, 2008               Respectfully submitted,

 4

 5                                           John R. Manning
                                             Attorney at Law
 6

 7
     McGREGOR W. SCOTT
 8   United States Attorney

 9   /s/ Jill Thomas                         /s/ John R. Manning
     JILL THOMAS                             JOHN R. MANNING
10   Assistant U.S. Attorney                 Attorney at Law
     Attorney for the United States          Attorney for Defendant
11                                           RICARDO VENEGAS

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13
                                    O R D E R
14
     IT IS SO ORDERED.
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16   Dated: July 3, 2008.

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